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18
                                 UNITED STATES DISTRICT COURT
19                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
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21 WPENGINE, INC., a Delaware corporation,         Case No. 3:24-cv-06917-AMO

22                Plaintiff,                        PLAINTIFF WPENGINE, INC.’S
                                                    STATEMENT OF RECENT DECISION
23                                                  REGARDING DEFENDANTS’ MOTION
           vs.                                      TO DISMISS PURSUANT TO N.D. CAL.
24                                                  CIVIL L.R. 7-3(D)(2)
   AUTOMATTIC INC., a Delaware corporation;
25 and MATTHEW CHARLES MULLENWEG,                   Hon. Araceli Martínez-Olguín
   an individual,
26                                                  Hearing Date: August 28, 2025
                  Defendants.
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                                                                   Case No. 3:24-cv-06917-AMO
         PLAINTIFF'S STATEMENT OF RECENT DECISION REGARDING DEFENDANTS' MOTION TO DISMISS
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 1          Pursuant to N.D. Cal. Civil L.R. 7-3(d)(2), Plaintiff WPEngine, Inc. (“WPE”) submits this

 2 statement of recent decision regarding the Ninth Circuit’s June 23, 2025 opinion in CoStar Grp., Inc.

 3 v. Com. Real Estate Exch., Inc., 2025 WL 1730270 (9th Cir. June 23, 2025) in connection with

 4 Defendants’ motion to dismiss, which is set for hearing on August 28, 2025, and on which briefing

 5 closed on February 19, 2025. The Ninth Circuit’s decision addresses issues raised in the briefing on

 6 Defendants’ motion to dismiss regarding WPE’s antitrust and Unfair Competition Law claims and

 7 the district court’s prior decision in CoStar. Id. at *5–12; Dkt. 68 at 2–8, 17–18; Dkt. 75 at 2–9, 17–

 8 19; Dkt. 106 at 2–5, 17. A copy of the Ninth Circuit’s opinion is attached as Exhibit A.

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 1 DATED: July 10, 2025                  Respectfully submitted,

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